Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 1 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 2 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 3 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 4 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 5 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 6 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 7 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 8 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 9 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 10 of 11
Case 4:08-cr-10078-JEM Document 367 Entered on FLSD Docket 07/27/2010 Page 11 of 11
